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                                   COURTROOM MINUTES
                               SENTENCING / JUDICIAL REVIEW

         7/7/2022              Thursday                        1:00 PM                      1:32 PM
DATE: ____________    DAY: ______________     START TIME: ______________      END TIME: ______________
                   Conley                              rks                                 JD
JUDGE/MAG.: ___________________       CLERK: _____________________   REPORTER: ____________________
                          Mariah Stieve
PROBATION OFFICER: _________________ INTERPRETER: _________________ SWORN:
             20-cr-133-wmc
CASE NUMBER: _______________________                   Leva Oustigoff
                                     CASE NAME: USA v. _____________________________________


APPEARANCES:
AUSA: Laura Przybylinski Finn
      ____________________________________      DEFENDANT ATTY.: Patrick Stangl
                                                                 ________________________________
      ____________________________________                           ________________________________
                                                DEFENDANT PRESENT:


SENTENCING GUIDELINE RANGE:
                               15
      TOTAL OFFENSE LEVEL: __________                                         I
                                              CRIMINAL HISTORY CATEGORY: __________
                                                 18            24
      ADVISORY GUIDELINE IMPRISONMENT RANGE: __________ to __________ MONTHS.


SENTENCE:
                2s
COUNT(S) _______________:       INDICTMENT        INFORMATION
            2s         18           1                 100 CA; $ ___________               -
                                                                  40,702.38 REST.; $ __________
CBOP CT. _______;    ______ MOS.; ______ YRS. S/R; $ ______                                     FINE.
      CT. _______;   ______ MOS.; ______ YRS. S/R; $ ______ CA; $ ___________ REST.; $ __________ FINE.
                               8/9/2022
      VOLUNTARY SURRENDER: _______________            noon
                                           between __________      02:00 PM
                                                              and __________;
      RELEASE CONDITIONS CONTINUED.
      DETAINED.


ACTIONS:
      PLEA AGREEMENT ACCEPTED
      DEFENDANT ADVISED OF RIGHT TO ALLOCUTE (OPPORTUNITY TO SPEAK)
      DEFENDANT ADVISED OF RIGHT TO APPEAL
      GOVERNMENT MOTION TO DISMISS REMAINING COUNTS GRANTED
      REVOKED


NOTES:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
                                                                                              0'32"
                                                                         TOTAL COURT TIME: __________
